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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

R.F. Technologies, Inc., et al.
                                       Plaintiff,
v.                                                        Case No.: 1:17−cv−01886
                                                          Honorable Sara L. Ellis
Thomas O'Leary, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 2, 2019:


       MINUTE entry before the Honorable Sara L. Ellis: Status hearing held on
7/2/2019. Fact discovery ordered closed by 11/21/2019. Status hearing set for 8/1/2019 at
1:30 PM. Mailed notice(rj, )




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